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                                                                                                             FORM APPROVED
             CLAIM FOR DAMAGE,           INSTRUCTIONS: Please read carefully the instructions on the
                                                                                                             0MB NO. 1105-0008
                                         reverse side and supply information requested on both sides of this
              INJURY, OR DEATH           form. Use additional sheet(s) if necessary. See reverse side for
                                                                       additional instructions.

1. Submit to Appropriate Federal Agency:                                                            2. Name, address of daimant, and claimant's personal representative if any.
U.S. l)i.stri ct Co~rts M, ddlt.},strict-                                                              (See instructions on reverse). Number, Street, City, State and Zip code.

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                                                                                                     Qu ; trn ~j G-A 3 I 1t, t/.3
3. TYPE OF EMPLOY~E T                    4. DATE OF BIRTH             5. MARITAL STATUS                                                                  7. TIME (A.M. OR P.M.)
     □ MILITARY           CIVILIAN         ll~ I 0--lqftf s;noil e                                  o ~1 E U Q ~ O~ A~ : ~;enC- de).~
8. BASIS OF CLAIM (State in detail the known facts and circumstances attetlding the damage, injury, or death, identifying persons and property involved, the place of occurrence and
   the cause thereof. Use additional pages if necessary).
                                                             Conti rH.u.d Of\ ~dd,bof\ol ~ijU
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                                                                                                                                                                                     ,J



9.                                                                                PROPERTY DAMAGE
NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).


                                                              NIA-
BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See instructions on reverse side).

                                                               f\) [ f1
10.
                                                    - ..               PERSONAL INJURY/WRONGFUL DEATH


                                                    :r..~• \.I. ts ~(t i~ pu,"Q.L\
STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME



                                                                                                           '" dt.ta;L i" C.on~\.\t\ct,of\ w,~
OF THE INJURED PERSON OR DECEDENT.                            t",



                                                *       •·




11 .                                                                                   WITNESSES

                               NAME                                                                  ADDRESS (Number, Street, City, State, and Zip Code)




12. (See instructions on reverse).                                          AMOUNT OF CLAIM (in dollars)

12a. PROPERTY DAMAGE                     12b. PERSONAL INJURY                                 12c. WRONGFUL DEATH                    12d. TOTAL (Failure to specify may cause
                                                                                                                                          forfeiture of your rights).

                                          5)    000,000. oo                                                                         5, bQ01 OQO. 00
I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.

13a. SIGNATUU? JF CLAIMACJT~
                  l l , ; ; (St ;~ ctions on reverse side).                                         13b. PHONE NUMBER OF PERSON SIGNING FORM 14. DATE OF SIGNATURE


                                     , ---Y\/
                                           1
                                                                                                    :l.l1-53q-.·1137                                          'I . g---o2.(J:l..Lf
                             CIVIL PENAL~R PRESENTING                                                            CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                                   FRAUD ENT CLAIM                                                                    CLAIM OR MAKING FALSE STATEMENTS

The claimant is liable to the United States Government for a civil penalty of not less than         Fine. imprisonment, or both. (See 18 U.S.C. 287, 1001.)
$5,000 and not more than $10,000, plus 3 times the amount of damages sustained
by the Government. (See 31 U.S.C. 3729).

Aulnurized for Local Reproduction                                               NSN 7540-00-634-4046                                          STANDARD FORM 95 (REV. 2/2007)
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                                                                                                                                              28 CFR 14.2
95-109


                                                                                                                                                                                          J
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    Hello my name is Alika Seay. For the past 18 years I have been involved in an ongoing legal
    dispute against the United States (Veterans Administration, Office of General Counsel and
    Federal Tort Group) concerning a brutal MST that I experienced while in the United States Air
    Force. As a result, I have been deemed 100% disable by the VA (rightfully so). Unfortunately,
    every single day is a battle for me to carry out normal day to day activities causing me to miss
    the deadline for this claim to be submitted. As noted in this claim, I have not been given the
    proper knowledge multiple times. On today, April 15, 2024 I was told by Ellen Hastings (FTG
    Attorney) that I should be filing this case within the District Courts when a few months ago she
    told me that I had a choice .... either file a constitutional tort or US District Court. I am begging for
    you to please accept this case that has lingered on for so long. I apologize sincerely for the
    deadline mishap. The tardiness of this claim is one of the horrible drawbacks of suffering Major
    Depressive Disorder and a myriad of stomach issues. Your cooperation and understanding is
    greatly appreciated in this matter.

                                                 J          Thank you so much
                                                                  Alika Seay




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April 11, 2024

Alika Seay vs The United States (Veterans Administration, Federal Tort Group and Office of
General Counsel)

         This constitutional tort is in regard to my 14th amendment right being violated,
disregarded and ignored from October 2006 to current day. Due to the complex nature of the
crime and its aftermath, the summary is long and ongoing which furthers my reasoning for this
tort. I Alika Seay sincerely ask that you put yourself in my shoes and treat me like a victim
instead of a number. On November 7, 2022, I filed a Federal Tort Claim that was subsequently
denied due to lack of jurisdiction and "timeframe"(as a result.I was told by Ellen Hastings FTCG
Legal Representative that a Constitutional Tort would be the appropriate next step). The most
important part of the consideration process is to understand that the dates are continuous.
There has not been an ending to the reckless disregard that I have been a victim of. This tort is
teeming with clear and convincing evidence which is why it has been an obligation for the
negligence to be remedied. All of these events have been an obligation of contract concerning
both entities mentioned. Recanting the events, crimes and intentional disregard has always
been brutal and sickening, causing added anguish to my greatly diminished mental capacity.
However, it is my hope that this will be the last time that I have to relive the darkest moments of
my life. I. wish I could make it brief but for the sake of being literal, clear and concise, I have to
explain in detail.I understand thoroughly that the Constitution provides for equal protection
under the law, first amendment retaliation, speech suppression and deprivation of life, liberty or
property without due process of law. With any legal correspondence, I understand that it is best
to limit content as much as possible; however, there is no way to fully explain the gravity of my
experiences without being completely thorough and accurate. Since October 2006, I have
reached out to countless military personnel, agencies, VA representatives and medical staff in
an attempt to receive much needed medical assistance and therapy for the brutal MST that I
endured by what was my supervisor at the time. Unlawfully I was denied the opportunity to
obtain justice after reporting the MST and its effects immediately and for that I developed
SEVERE PTSD, a swollen uterus, denial of my dream to become a Chief Master Sergeant and
was discharged from the Air Force (General Under Honorable Conditions) as a result of
symptoms associated with the rape. In 2009, I continued desperately seeking help through the
VA due to the fact that the aggravating circumstances from the MST became too hard for me to
handle on my own. I was immediately denied. It is downright callous and illegal for all of the
publications, support and services produced by the United States Air Force and Veterans
Administration concerning MST sexual assault, to not be acted upon when a soldier is in dire
distress. False advertisement in my case is dangerous due to the fact that it gave a suicidal
female soldier false hope. While enduring the degree of neglect, disregard, mental and physical
illness that I have unfairly been subjected to, the only thing worse would be trusting of what I
now know is delusive contentment. I have taken the liberty to be fully aware of the Constitution,
The Preamble and the contents of a constitutional tort as it applies to my case.
The Preamble
We the people of the United States in order to form a more perfect union, ESTABLISH
JUSTICE, insure domestic tranquility, provide for the common defense, promote the general
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welfare, and secure the blessings of liberty to ourselves and our prosperity, do ordain and
establish this Constitution for the United States of America(·:.":."::.: :-- stitution.congress.gov)
The 14th amendment
.... (paraphrased) Nor shall any state deprive any person of life, liberty, or property, without due
process of Jaw; nor deny to any person within its jurisdiction the equal protection of the laws.
The legal duty of care
Is created when a physician agrees to treat a patient who has requested his or her services. In
determining what that duty requires, physicians should consider whether the care they are
providing is that which a "reasonable physician" would provide under the circumstances. In tort
law, a duty of care is a legal obligation that is imposed on an individual, requiring adherence to a
standard of reasonable care to avoid careless acts that could FORESEEABLY HARM OTHERS,
and lead to a claim in negligence. (www.ncbi.nln .il·t; ,g - ·1) When I was awarded 100% VA
disability benefits, it was undoubtedly the Armed Forces accepting responsibility for the
disgusting sexual assault I experienced. Without question it is understood immediately that
there are extenuating circumstances surrounding this type of abuse that makes justice for me
more tedious, broad and the care has to be individually specific. The knowingness that all
agencies involved in this tort have the authority to reject and dismiss a crime that the VA and
USAF has admitted happened to me is UNCONSTITUTIONAL and the type of criminal
disregard that suicidal ideation is made of.
The State Action Clause concerning 14th amendment
The Fourteenth Amendment. by its terms, limits discrimination only by &overnmental entities,
not by private parties.1 As the Court has noted. the action inhibited by the first section of the
Fourteenth Amendment is only such action as may fairly be said to be that of the States. That
Amendment erects no shield against merely private conduct, however discriminatory or
wrongful.2 Although state action requirements also apply to other provisions of the
Constitution3 and to federal governmental actions,4 the doctrine is most often associated with
the application of the Equal Protection Clause to the states. "\ .- .-. :. :en.: :~:.:~: Ii.con ress. ov
Elaborating on Reason for Appeal
It is extremely doubtful that the VA and Office of Chief Counsel investigated my claim
thoroughly. Reason being, there would have been a clear consensus that this has literally been
an 18 year ongoing case. Based on the duty of care standard, the FTCA prescribes a uniform
procedure for handling claims against the United States for money damages only an account of
damage to or loss of property, or personal injury or death, caused by the negligent or wrongful
act or omission of a government employee while acting within scope of his or her office of
employment, under circumstances where the U.S. if a private person would be liable in
accordance with the law of the place where the act or omission occurred (www.va.&ov; "Claims
Under the Federal Tort Claim Act'') On the same website, there are countless publications that
falsely state that there are multiple resources available for PTSD, MST, mental health issues as
well as physical health care. As far as the expected duty of care, I was not provided:
     • Any mental or physical assistance at any time during the multiple times that I reported
         the MST to my superiors.
     • Counseling once my alcoholism took over my life. I had a tremendous nervous
         breakdown at work and was threatened to be dishonorably discharged.
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•   Consideration of the mental disability that I suffered from daily, nor my swollen and
    damaged uterus as a result of being assaulted with a muscle massager while unconscious
    (denied benefits in 2009 at C and P exam after telling the examiner I had been sexually
    violated on Tyndall AfB).
•   The right antidepressants, sleeping medication or medication for the increasing pain in
    my stomach. I made every single doctor aware that the medication was ineffective and
    made my symptoms worse. Instead of treating me like an individual and focusing on my
    needs, I was often told how certain medicines had worked for other patients and
    prescribed even more ineffective medicine like a guinea pig. There were countless days
    that I went into different VA facilities in excruciating pain and it did not matter at all. For
    years I have asked for medicine that I know would give me some relief but due to the
    nation's unfortunate Opiod Crisis, I was given no relief and had to resort to purchasing
    pain medication from people. That is a crime! The VA has been aware of this desperation
    for years. I have had suicidal and homicidal ideation since the day that the MST
    occurred. Trying to maneuver life with severe mental illness untreated, unmedicated and
    unsupported is the most dangerous way to live life. On the brink of suicide, I would often
    call the Crisis Line and ask that the conversation would not result in any unnecessary
    attention that would sink me further into the throws of Major Depressive Disorder.
    Instead of respecting my wishes, I have been totally humiliated multiple times by law
    enforcement and the local fire department showing up to my home in droves. During one
    of those visits, I was sexually harassed by a Brooks County Sheriff that continuously sent
    me sexually explicit messages (I have proof). On today 3/1/2024, I have not received a
    solution to ANY OF THESE PROBLEMS.
• Breach {the defendant acted or failed to act below the standard care which
    was expected)
    In a personal injury case, breach of duty is based on the premise that the defendant
    breached a duty of care owed to the plaintiff and that breach caused the plaintiffs
    injuries (www.injuriesandaccidents.com Elements of a Tort Breach) As it pertains to a
    breach of duty, the USAF and VA have been and are currently refusing to uphold their
    obligations to me as a veteran. From a position of understanding, I was patient and as a
    result, I have shown copious amounts of disrespect that a victim does not deserve. In any
    normal sexual assault and any given agency, if an employee reports that crime to
    superiors 4 times, some form oflegal action would be taken. Instead, I was watched and
    villainized while I spiraled rapidly beyond my control by superiors that are trained to
    pick up on the symptoms surrounding a MST. When a patient reports to a
    doctor/doctors/specialist about abdominal issues, in most cases there will be a remedy
    in a timely manner. This is going on the 19th year and the pain has (commonsensical)
    gotten worse and became chronic. As I have stated in prior claims, the VA has the
    technological capacity to ensure that the "VA will provide the best customer experience
    in its delivery of care. The VA will use customer experience data and insights in strategy
    development and decision making to ensure that the voice of veterans inform how VA
    delivers care, benefits and memorial services" (www.va.gov (I CARE) 38 C.F.R. Part o).
    It should be totally illegal for the VA to be able to publish misleading, inflammatory lies
    to the people that put their young lives on the line to defend our Constitution. Around
    approximately 2019, I submitted a claim to the VA for back pay concerning the MST and
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       its after effects. I was denied and told that I had to have suffered a hardship just to have
       my case expedited. I am unable to work, suffer from severe chronic pain, severe
       depression, and often have homicidal/ suicidal ideation, that would constitute a hardship
       to any agency other than the VA. My life was stolen away from me in more ways than
       one based on no fault of my own. It was EVERY SUPERVISORS CONTRACTUAL DUTY
       to report all that I told them. This is the type of criminal comradery that kills.
   •   Causation {It was the defendants actions that actually cause the plaintiff's
       injury}
       In regards to the MST in October 2009, after reporting it, instead of receiving help, I was
       treated horribly and like an outcast which ultimately resulted in a bad paper discharge. I
       LITERALLY RISKED MY LIFE TO TRY AND GET HELP! There is no secret that many
       female soldiers that report MST often meet their demise and I was fully aware of that
       fact. Instead of losing my physical life, I lost everything internally. My drive, motivation,
       sanity, future (Chief Master Sergeant), self esteem have all vanished. In the beginning of
       2024, anxiety attacks turned into panic attacks which have proven to be much worse.
       Imagine living the life that I live. Nobody deserves the torture of living in survial mode
       for more than a decade. Everything that I lost, are all vital to not only success but
       everyday living. One night around people that took a sworn oath to protect me, ruined
       my life. I deserve justice once and for all.
   • Deplorable Healthcare
       Enduring the deplorable healthcare that I am being subjected to should easily rise to the
       level of malpractice and criminality. After failing to receive proper health care ( after the
       MST) based on the research the VA HAS PROVIDED TO THE WORLD, I felt like maybe
       my symptoms could be remedied. Once I attended the 2009 C&P exam, (although I was
       denied) the VA was alerted to the zone of foreseeable danger (the area within which one
       is in actual physical peril from the negligent conduct of another person or group
       (www.merriamwebster.com). The VA has millions of patients and a running
       documented history of cause and effect pertaining to those clients which makes the
       organization totally aware of the cause and effects of MST. Statistically speaking:
            1. 1 in 3 female veterans in the VA healthcare system report experiencing MST
                which accounts for 60% of veterans that disclose MST (www.dav.or&)
            2. 20,000 service members are sexually assaulted annually
            3. 64% of those who report MST have faced retaliation
            4. Based on my own recollection, I know that service members are REQUIRED to
                take extensive training on MST. I now understand the gravity of this due to the
                fact that it RUINS LIVES and the majority of those lives are very young and
                impressionable.

It is apparent that victim resources need to be independent of the Armed Forces and any of its
affiliates as it is common sense that those entities are working for the best interest of the
military.
   • Damaaies
       During each and every claim and any time that I have to recant the MST, PTSD and
       medical negligence, it literally takes days and sometimes weeks to recover. Words could
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         NEVER describe the torture that I have endured. I dont get days off from this life that I
         have been forced to live.
             1. The likelihood that a person suffers suicidal or depressive thoughts increases
                after sexual violence
             2. 94% of women who are raped experience symptoms of PTSD before two weeks
                following the rape.
            3. 33% if women who are raped contemplate suicide
             4. 13% of women who are raped attempt suicide
            5. Sexual violence also affects victims relationships with family, friends and co
                workers
             6. 38% of victims of sexual violence experience work or school problems, which can
                include significant problems with a boss, co worker or peer (www.rainn.org)
The residual effects of being penetrated with a massager left me with multiple reproductive
issues that cause extreme pain. After toughing out the pain as long as I could, I went to the
Valdosta VA outpatient clinic. The doctor prescribed me tramadol. I eventually told the doctor
that the medicine was ineffective and the 30 pills were not enough for the pain that I was
experiencing. I was ignored. Out of desperation and agony, I asked a family member if they had
any medicine to help with the type of pain that I had (I only had VA insurance). I explained to
the doctor THOROUGHLY about this situation and was brutally honest to my detriment. I had
no idea about a crisis or anything else associated with the medicine besides the fact that it
helped with the pain. I was given a urine analysis and the medication that I had taken showed
up. The tramadol was stopped and I have not been prescribed ANITHING for pain relief. After
going to countless exams and doctors appointments concerning the increasing reproductive
pain, I was told that I had been flagged and treated like a person addicted to drugs. I pride
myself on reputation so naturally this was an unfair and enormous blow. An agency that is
responsible for my healthcare, has all of my medical records, x-rays and exams, is refusing to
treat my pain. I have reached out to so many doctors, specialists, Patient advocates and the VA
white house line more than 50 times only to be treated like trash. The Chief of Medicine with the
VA personally wrote me a letter assuring me that he would ensure I received help with the pain
which was a total lie. The brutality of constantly getting your hopes up for pain relief is
astonishing and also exacerbates MDD symptoms. To add insult to injury, one day I called the
VA concerning an appointment and I was referred to as "THE ONE WITH THE TORT". By no
means do I feel that the nurse (mental health nurse Valdosta, GA) meant any harm however, the
comment validated what I have been suspecting and it is not fair. Throughout all claims that I
have filed, I have proved statistical, documentary, admissible, circumstantial and most
importantly clear and convincing evidence. In response, I receive denials that are vague,
inconsistent with my correspondence, letters that are so common that it can be acquired on a
Google search (only difference is that my name is inserted where applicable), my name being
spelled wrong and downright "blanket terminology". These injustices are acceptable from the
VA, USAF and Office of General Counsel because they are zenith agencies and I am just one
veteran that had her life stolen from her. This is discrimination and there needs to be major
restoration concerning veterans and the "resources" that are supposed to take care of us. This
whole 18 year experience has been a huge Medical Gasli&}lting Case. There is no feasible
explanation as to why I have been attending medical appointments and undergoing countless
tests to receive very little help and inadequate diagnoses. IS THE VA REALLY TRYING TO
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 SAVE LIVES? I have been misdiagnosed repeatedly which is why I feel that I was denied a
discovery process by the Office of General Counsel before completing this claim. It would be
nothing short of a miracle to be believed, heard and cared for properly as a MST victim. I have
NEVER had a good experience with VA or USAF doctors. After each appointment I leave feeling
unheard, embarrassed and hopeless. It is illegal for me to diagnose myself and doctors take my
inexperienced and medically uneducated guess as factual information. The bias across
healthcare is frightening and being a black woman that reported a sexual assault against the
 USAF has been to my downfall. Being a victim of constant legal and malicious injury has totally
 ruined my capabilities to be self sufficient and function properly in all areas. The gravity of this
type of discrimination is alarming and should be stopped on a case by case basis. On January
30, 2024 after reaching out a total of 6 times over two months, I received a call back from Mr.
 Drave's assistant (Federal Tort Claims Group representative) in regards to MY RECORDS being
sent to me concerning this appeal/claim (GDL 510978). I told him that I had only received three
documents that had absolutely nothing to do with my correspondence initially and throughout
this case. With absolute certainty and against my rebuttal, the assistant assured me that "those
had to be the only documents in that file otherwise Mr. Draves would have sent it in. They are
 not that kind of agency and have no reason to withhold any of my info". Before ending the
conversation, I proved that he was lying. I then asked, "Where is my form 95 then? Are you
telling me that there has been no correspondence between Mrs. Hastings and other
professionals regarding my case?" Fighting Major Depressive Disorder once again (making
myself sick), I read the letter sent to me in regards to a copy of my records from the FTCA. In a
nutshell, the letter basically states that a decision was made to not provide me with my records
due to the potential of an "invasion of privacy" to those involved in the case. I am certain that
those security measures were not taken to safeguard my privacy. Hence the comment made by
the Mental Health Nurse about me filing the tort claim. Why would these gigantic agencies care
about one veteran that had her life completely ruined by being brutally raped? Naturally the
purpose in me asking for my records was to prepare for a rebuttal. This is the first time that I
have ever been denied a discovery phase. Twice I settled for just the information that I wrote, I
was denied that too. Why do I have to file yet another appeal for information that should be
readily available to me? That is a tactic used to waste time and draw this process out longer. On
March 19th after concluding this claim, I went through files that I forgot that I had. As a result, I
came across the TOTAL CONTRADICTION concerning Mr. Draves (FTCG) and my FOIA
request.Within the document responding to my 6th request, there was mention of a balancing
test that took place in regards to individuals involved in this case. ( A balancing test is any
judicial test in which the jurists weigh the importance of multiple factors in a legal case. When
referring to evidence presented at a trial, the balancing test allows the court to exclude
relevant evidence if its probative value is substantially outweighed by danger of one or more
of the following: unfair prejudice, confusing the issues, misleading the jury, undue delay,
 wasting time or needlessly presenting cumulative evidence. This means if a particular piece of
 evidence is substantially more prejudicial than it is probative, it may not be allowed in as
 evidence. (www.wikipedia.org Balancing test for Tort Law) In this instance of denial and other
 agencies aforementioned, there is a desperate need for checks and balances within government
 agencies. I was told over the phone by Mr. Draves' assistant that after "supposedly" looking up
 my file, that there was nothing there to send. Flabbergasted and knowing that this was a blatant
lie, I asked if I could just be sent the correspondence that I am the author of....again, he couldn't
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find anything. I am now reserving the right (and I hope you do too) to believe anything that the
Defendant submits or has submitted. Failing to disclose evidence suggests that there is validity
to my case and that I deserve justice. At a minimum, I was denied due process (means that a
citizen who will be affected by a government decision must be given advance notice of what the
government plans to do and how the government actions may deprive them of life, liberty or
property (www.maine.gov) ). Obviously the Federal Tort Group and Office of General Counsel
have absolute control, yielding too much power. Implementation of proper checks and balances
could have improved operational efficiency during my case as well as many others. Checks and
balances are to weigh competing interests so why did the ability to review evidence and
statements that were produced concerning MY HEALTH, PERSONAL INFORMATION and
right to defend myself not supersede a "potential" unwarranted invasion of personal privacy?
Any of the health officials that took part in the gathering of evidence have likely provided me
with medical care previously so the chances of me knowing them is pretty high. In an effort for
me to properly defend myself, I am certain that the names and personal information could have
been redacted somehow. Obtaining personal info for malicious purposes never crossed my mind
and quite frankly, I am offended. I have experienced court proceedings, testimonies, and
statements. This case does not rise to the level of potential violence in any shape of form.
However, it does say that there is something being hidden and that I was lied to concerning
records related to a case that I am the Plaintiff in. The VA is also notorious for "misplacing"
information when they are under suspicion (happened to me previously but thankfully I took a
picture and saved it to my computer). Suppose some statements are lies ... .I have the right to say
so. There are different ways that my records could have come to fruition instead of being lied to
saying that I received everything that they had. No attempts were made for me to obtain the
tools necessary for this claim. Another lie and guilt by omission. When are these people going to
be held accountable?
Rule 26. Duty to disclose; General Provisions Governing Discovery (www.law.cornell.edu)
states within the Initial Disclosure (A) In General. Except as exempted by Rule 26 (a)(1)(b) or as
otherwise stipulated or ordered by the court, a party MUST without awaiting a discovery
request, provide to the other parties: (i) the name and if known, the address and telephone
number of each individual likely to have discoverable information-along with the subjects of that
information-that the disclosing party may use to support its claims or defenses, unless the use
would be solely for impeachment (ii) a copy or description by category and location of ALL
documents, electronically stored information, and tangible things that the disclosing party has
in its possession, custody or control and may use to support its claims or defenses, unless the
use would be solely for impeachment. Without being able to compare and contrast the evidence
that FTCA received, how am I to know that the denial is valid? Where is the proof? The denial I
received from the Office of General Counsel was so poorly executed that my name was spelled
incorrectly. In the same context as Rayonier vs. U.S., the USAF and VA are to be held
responsible for repeated negligence on behalf of their employees. It is insulting for OGC to
collect my medical records, statements and other correspondence pertaining to this case and not
give me the opportunity to rebuttal. This is a prime example of the treatment that I have been
receiving this entire time. What these agencies consider as just another case is MY LIFE! The
"mission of the Office of General Counsel" is to identify and meet the legal needs of the
Department of Veterans Affairs. Its primary objective is to ENSURE THE JUST AND
FAITHFUL EXECUTION OF THE LAWS, REGULATIONS AND POUCIES that the Secretary
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has responsibility for administering, and by doing so doing enable the Department to
accomplish its mission ofSERVICE TO OUR NATIONS VETERANS. Federal torts are
applicable based on certain jurisdictions and aspects, however, the Constitution is the Law of the
Land surpassing any and all laws if necessary. My 14th amendment rights have/are being
violated and I deserve justice once and for all. I have earned the right to try and put my life back
together the best that I can. Physical and mental health, money, relationships, goals etc have all
been taken from me. I have declined to the point that I am not able to stay gainfully employed.
After so many attempts at justice and being denied, mediation is of no interest to me. As I have
stated before, many times I AM TIRED OF BEING LIED TO, DISREGARDED AND TAKEN
ADVANTAGE OF. In the beginning of the Tort claims process I spoke to Mrs. Hastings initially
and she asked two questions that in hindsight raise red flags:
     • How did I know about FTCA?
     • Did I fill out the Standard Form 95 that I filled out?
To ease the sting of those stereotypical questions, she complimented me by saying that I did a
good job answering the questions on the form and it was completed thoroughly. I have now
learned that when those types of comments are made by any representative of USAF, VA or
Torts Group, soon you will be swept under the rug and given an empty and vague reason for a
denial of some sort. "The audacity of me to understand that I have to take on 3 federal agencies
by myself to get some type of justice".Jn my personal opinion, this appeal has risen to the level
of a constitutional tort due to a torturous MST and medical negligence both in a complex and
drawn out nature. The Veterans Administration has acknowledged the fact that I was raped in
2017 so naturally any attempts at achieving the "whole person concept" should be made in a
swift and effortless manner. I have proved my case in every way possible thoroughly and in great
detail. I am Vanessa Guillen that didn't die a physical death instead, I have experienced death in
every other way as a result of MST. For the past year, I see clearly that I do not fit the expected
profile of typical targets of discrimination, my credibility is challenged more, and my statements
are scrutinized more than if I was the prototypical victim (www.fugua.duke.edu). I am part of
55% of black adults that say that they have had at least one of six negative experiences with
doctors and other healthcare providers. Less access to quality medical care is the top reason
Black Americans experience worse health outcomes giving lower priority to the well being of
black people (www.pewresearch.org). Please do not reject my plea in regards to a timeline
singling out one of the prerequisites that I have clearly explained and established throughout
this claim. If there has to be one sole specific incident (within the 2 year timeframe) I am asking
you to refer to the letter that I received from the Executive Health Systems Director David
Isaack's on January 5, 2022. When this claim was initially filed with the FTCA, it was within the
two year timeframe. The medical negligence and malpractice is an issue that is current, constant
and neverending. I am going to enclose proof (after not receiving all my medical records from
the VA) that the VA has been aware of my health concerns and chose not to offer relief, the
falsified document from the Executive Health Systems Director, a disability rating letter that at a
minimum lists what information the FTG/Office of General Counsel would have to have in order
to conduct a fair and impartial decision and last but not least, my previous Standard Form 95
summation (I found recently) that I submitted to FTG and now "doesn't exist". In hindsight, I
wish I would have kept a copy of all correspondence for situations like this. In my naive mind, I
believed that there is a certain level of integrity that the government operated under. I was very
wrong. Although the forms were completed a while apart, they clearly mimic each other. From
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the bottom of my heart, I sincerely ask that you help me once and for all. Understand that any
errors or potentially missing information is due to the exhaustion of this process as well as the
fact that I am severely mentally ill.
                                         In Conclusion
We are not heard and supported fully in these types of cases. I should not be begging for justice
and the law should be upheld the first time and every time an egregious crime takes place.
Imagine that your duty is to defend our country and you are unable to do so effectively because
your supervisor has raped you and you are suffering. Should this tort not rise to the level of
justice on my behalf, please answer these questions for me in the denial letter and maybe I can
gain clarity:
    • Is MST illegal?
    • Should military service members especially in a supervisory role be held to a higher
        standard?
    • Is the annual sexual awareness training an option in a real life scenario?
    • What type of punishment does rape warrant?
    • How many times does a soldier have to report a crime before justice is rendered?
    • Is it ok that the VA denied MST in 2009 and then approved it in 2017?
    • When a veteran complains repeatedly (to multiple Patient Advocates, White House
        Veterans Line, supervisors and mental health professionals) about inadequate and
        negligent healthcare, should they EVER receive a solution? If so, when?
    • Once the VA, Office of General Counsel and Federal Tort Group are caught in a lie,
        shouldn't the entire case be granted to the opposing party?
    • Who am I supposed to believe?
    • After an 18 year battle, do I not deserve justice once and for all?
    • Did the USAF have the authority to ruin my life and not be held responsible?
    • When should justice be obtained for ANY crime?
    • What would your outlook on the USAF, FfG and OGC be if you were given my set of
        circumstances?
    • WHAT QUALITIES MUST I POSSESS TO BE TREATED FAIRLY AND RECEIVE
        JUSTICE?
         If I am granted this tort, I will immediately commit myself to an in house mental health
        facility to help myself due to the severity of my condition as well as getting much needed
        operations.

                                                     Thank you for your time
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                                                                                  INSURANCE COVERAGE

In order that subrogation claims may be adjudicated, it Is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or property.

15. Do you cany accident Insurance?       D Yes If yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number. D No



16. Have you filed a claim with your insurance earlier in this instance, and if so, is it full coverage or deductible?    D Yes D No              17. If deductible, state amount.



                                                        N /A-
18. If a claim has been filed with your earlier, what action has your insurer taken or proposed to take with reference to your claim? {It is necessary that you ascertain these facts).




19. Do you cany public liability and property damage insurance?      D Yes If yes, give name and address of insurance earlier (Number, Street, City, State, and Zip Code). D No

                                                           N/A-
                                                                                       INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee{s) was involved in the incident. If the incident Involves more than one claimant, each claimant should submit a separate
claim form.

                                                         Complete all items - Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                    DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL                             INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                    THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY                                    TWO YEARS AFTER THE CLAIM ACCRUES.

Failure to completely execute this fonn or to supply the requested material within                The amount claimed should be substantiated by competent evidence as follows:
two years from the data the claim accrued may render your claim invalid. A clalm
Is deemed presented when it is received by the appropriate agency, not when It Is                 (a) In support of the claim for personal injury or death, the claimant should submit a
mailed.                                                                                           written report by the attending physician, showing the nature and extent of the injury, the
                                                                                                  nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
                                                                                                  and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
If instruction is needed in completing this form, the agency listed in item #1 on the reverse     hospital, or burial expenses actually incurred.
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
Many agencies have published supplementing regulatlbns. If more than one agency Is                (b) In support of claims for damage to property, which has been or can be economically
involved, please state each agency.                                                               repaired, the claimant should submit at least two itemized signed statements or estimates
                                                                                                  by reliable, disinterested concerns, or, if payment has been made, the itemized signed
                                                                                                  receipts evidencing payment.
The claim may be filled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express
authority to act for the claimant. A claim presented by an agent or legal representative          (c) In support of claims for damage to property which is not economically repairable, or if
must be presented In the name of the claimant. If the claim is signed by the agent or             the property is lost or destroyed, the claimant should submit statements as to the original
legal representative, it must show the title or legal capacity of the person signing and be       cost of the property. the date of purchase, and the value of the property, both before and
accompanied by evidence of his/her authority to present a claim on behalf of the claimant         after the accident Such statements should be by disinterested competent persons,
as agent, executor, administrator, parent, guardian or other representative.                      preferably reputable dealers or officials familiar with the type of property damaged, or by
                                                                                                  two or more competitive bidders, and should be certified as being just and correct.

If claimant intends to file for both personal injury and property damage, the amount for
each must be shown In item number 12 of this form.                                                (d) Failure to specify a sum certain will render your claim invalid and may result in
                                                                                                  forfeiture of your rights.

                                                                                   PRIVACY ACT NOTICE
This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and              B. Principal Purpose: The information requested is to be used in evaluating claims.
concerns the information requested in the letter to which this Notice is attached.                C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
    A. Authority: The requested information is solicited pursuant to one or more of the               submitting this form for this information.
       following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., 28 C.F.R.          0 . Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply the
        Part 14.                                                                                      requested information or to execute the form may render your claim "invalid."

                                                                         PAPERWORK REDUCTION ACT NOTICE

This notice is ~ for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501 . Public reporting burden for this collection of information is estimated to average 6 hours per
response, including the time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director, Torts
Branch, Attention: Paperworlc Reduction Staff, CiVll Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget Do not mail completed
form(s) to these addresses.

                                                                                                                                            STANDARD FORM 95 REV. (2/2007) BACK
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                                DEPARTMENT OF VETERANS AFFAIRS
                                    Department of Veteran Affairs
                                          Regional Office



                                               ALIKA SEAY

                                              VA File Number
                                               256 49 3291

                                              Represented By:
                                          --AMERICAN LE-GION
                                              Rating Decision
                                                04/08/2021


I
.!!.
                                             INTRODUCTION

       The records reflect that you are a Veteran of the Gulf War Era. You served in the Air Force from
       January 20, 2004 to August 31, 2007. We received your request for a Higher Level Review on
       April 5, 2021. Based on a review of the evidence listed below, we have made the following
       decision(s) on your claim.

       Please note: The evidentiary record closed on the date of notice of our prior decision. VA
       received additional evidence, which was not part of that decision after the record closed. If you
       would like VA to consider this evidence, you may submit a supplemental claim at any time;
       however, VA must receive your application within one year of the date of notice of this decision
       to preserve your right to receive the maximum possible benefit. (38 CFR 3.2500)

       You requested to have your higher-level review conducted at the same office that decided your
       claim. Unfortunately, we were unable to fulfill your request because that office does not have
       personnel available to conduct higher-level reviews (see 38 CFR 3.2601(e)). Accordingly, we
       conducted your review at an office with the appropriate personnel available.


                                                 DECISION



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                                                                                                           i!l~
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ALIKA SEAY
256 49 3291
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Entitlement to an earlier effective date for service connection of posttraumatic stress disorder
(also claimed as mood disorder and depression) is denied.


                                                    EVIDENCE
•   VA Form 21-0966, Intent To File A Claim For Compensation and/or Pension, or Survivors
    Pension and/or DIC, received March 29, 2017
•   VA Form 21-526 EZ: Application for Disability Compensation and Related Compensation
    Benefits, received April 28, 2017
•   Received on May 23, 201 7 copy of Gainesville VA Medical Center outpatient treatment
    records dated from February 2010 to April 20 I 7
•   Received on June 13, 2017 copy of Gainesville VA Medical Center outpatient treatment
    records dated May 2017
•   Received on June 13, 2017 copy of Salt Lake City VA Medical Center outpatient treatment
    records dated June 2015
•   Received on July 19, 2017 service treatment records for period of service from January 2004
    to August 2007
•   Rating decision dated August 18, 2017
•   Notification letter dated August 21, 2017 to Veteran regarding our decision
•   Request dated August 25, 2017 to Veteran for additional information in support of claim
•   VA Form 21-0781a, Statement In Support Of Claim For Service Connection For Post-
    Traumatic Stress Disorder {PTSD) Secondary To Personal Trauma, received September 15,
    2017
•   Received on October 11, 2017 military personnel records for period of service from January
    2004 to August 2007
•   Received on October 2, 2018 copy of Gainesville VA Medical Center outpatient treatment
    records dated May 2017 to October 2018
•   Received on October 5, 2018 copy of Gainesville VA Medical Center outpatient treatment
    records dated October 2018 to February 2010
•   Received on November 14, 2018 copy of Gainesville VA Medical Center outpatient
    treatment records dated October 2018 to November 2018
•   VA Form 21-4138, Statement in Support of Claim, received October 1, 2019
•   VA contract examination conducted on April 9, 2020
•   Rating decision dated April 23, 2020
•   Notification letter dated April 28, 2020 to Veteran regarding our decision
•   Received on May 4, 2020 copy of Gainesville VA Medical Center outpatient treatment
    records dated from January 2020 to January 2018
•   Section(§) 5103 Notice, received May 12, 2020
•   Received on June 15, 2020 copy of Salt Lake City VA Medical Center outpatient treatment
    records dated from January 2019 to June 2015
•   Received on June 15, 2020 copy of Pittsburgh VA Medical Center outpatient treatment
    records dated from September 2019 to May 2019
•   Received on June 15, 2020 copy of Gainesville VA Medical Center outpatient treatment
    records dated from January 2020 to February 2020
•   VA Form 21-8940, Veteran's Application For Increased Compensation Based On
    Unemployability, received November 19, 2020




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ALIKA SEAY
256 49 3291
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•   VA Form 20-0995, Decision Review Request - Supplemental Claims, received November
    23,2020
•   Received on November 24, 2020 copy of Gainesville VA Medical Center outpatient
    treatment records dated from October 2019 to July 2018
•   Received on December 10, 2020 copy of Gainesville VA Medical Center outpatient
    treatment records dated from September 2020 to July 2018
•   VA Form 21-413 8, Statement in Support of Claim, received December 22, 2020
•   VA Form 27-0820, Report of General Information, received December 31, 2020
• VA contract examination conducted on January 7, 2021
•   VA contract examination conducted on February 1, 2021
•   Rating decision dated December 12, 2021
•   :Notification letter dated March 15, 2021 to Veteran regarding our decision
•   Rating decision dated March 23, 2021
•   Received on March 23, 2021 copy of Gainesville VA Medical Center outpatient treatment
    records dated March 2021 to October 2019
•   Notification letter dated March 25, 2021 to Veteran regarding our decision
•   VA Form 20-0996, Decision Review Request - Higher Level Review, received April 5, 2021
•   HLR Informal Conference Worksheet, received April 8, 2021


                                 .REASONSJIDR...DECISION --·- -- ------ ------ -

Entitlement to an earlier effective date for service connection of posttraumatic stress
disorder (also claimed as mood disorder and depression}.

Entitlement to an earlier effective date for service connection for posttraumatic stress disorder
(also claimed as mood disorder and depression) has been denied. (38 CFR 3.400)

Review of the file shows we received a claim for service connection for continuing depression
on December 18, 2009. We sent a letter dated December 22, 2009 requesting medical evidence
in support of your claim. It was determined that no examination was required as the service
treatment records did not show treatment or diagnosis of psychiatric condition that started in
2004 as reported on the application. Rating decision dated June 11, 2010 denied service
connection for mood disorder, claimed as depression. You were denied service connection as the
service treatment records did not show treatment for or a diagnosis of depression. You were
notified of this decision on June 15, 2010. You had one year from the date of this letter to appeal
this decision. We did not receive an appeal from; therefore, this decision became final.

On March 29, 2017 we received an Intent to File for compensation. On April 28, 2017 we
received a complete claim for service connection for psychological issues. At this time, you
indicated your condition was due to military sexual assault. Rating decision dated April 23, 2020
granted service connection for posttraumatic stress disorder at 70 percent effective March 29,
2017, the date we received your intent to file as you filed a complete claim for compensation
within one year and had continuously pursued your claim since that time. VA regulations
provide the effective date for claims received after final disallowance will be date of receipt of
new claim or date entitlement arose, whichever is later. In this case, the later of the two dates is
the date we received your claim to reopen your previously denied claim. Therefore, there is no
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VA
                                                                               810 Vermont Avenue NW
                      U.S. Department of Veterans Affairs
                                                                               Washington DC 20420
                      Office of General Counsel                                www.va.gov/ogc
      •               Information and Administrative Law Group

     January 22, 2024                                               In Reply Refer to: 024
                                                                    FOIA Request: 24-04875-F


     Ms. Alika Seay
     2279 Dewberry Road
     Quitman, GA 31643
     E-Mail: alika.seay84@gmail.com


     Dear Ms. Seay:

     This letter is in response to your January 22, 2024 Freedom of Information Act (FOIA)
     request, to the Department of Veterans Affairs (VA), Office of General Counsel's FOIA
     Office. You requested a copy of the following records be provided to you:

          •     I am contacting your office in an effort to receive all of the correspondence
                regards to case GCL 510978

     On January 22, 2024, your request was received by the Office of General Counsel's
     FOIA Office and assigned FOIA tracking number 24-04875-F for processing.

     We will begin to search for records that are responsive to your FOIA request. Once
     the search has been completed; we will then respond informing you of the results of
     the search. If you have any questions about your request, you may contact me at
     OGCFOIARequests@va.gov.


     Sincerely,
                       Digitally signed by
     GREGORY           GREGORY DRAVES
                       Date: 2024.01 .22
     DRAVES            14:50:46 --05'00'
     Greg Draves
     FOIA/Privacy Officer
     Office of General Counsel
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                                                                                   81 0 Vermont Avenue NW

VA                 U.S. Department of Veterans Affairs



      •
                                                                                   Washington DC 20420
                   Office of General Counsel                                       www.va.gov/ogc
                   Information and Administrative Law Group

     January 22, 2024                                                    In Reply Refer to: 024
                                                                         FOIA Request: 24-04875-F


     Ms. Alika Seay
     2279 Dewberry Road
     Quitman, GA 31643
     E-Mail: alika.seay84@gmail.com


     Dear Ms. Seay:

     This is the Initial Agency Decision (IAD) to your January 22, 2024 Freedom of Information Act
     (FOIA) request, to the Department of Veterans Affairs (VA), Office of General Counsel's FOIA
     Office. You requested a copy of the following records be provided to you:

        •    I am contacting your office in an effort to receive all of the correspondence regards to
             case GCL 510978

     On January 22, 2024, your request was received by the Office of General Counsel's FOIA
     Office and assigned FOIA tracking number 24-04875-F for processing.

     On January 22, 2024, the Office of General Counsel conducted a search of the Torts Law
     Group's General Counsel Legal Automated Work System (GCLaws) database. The search
     utilized the key term: 510978

     A total of 3 pages of responsive records were reviewed. I have determined that 1 page is
     being released in its entirety and 2 pages are being released in part pursuant to Title 5 U.S.C.
     § 552(b )(6), FOIA Exemption 6.

     FOIA Exemption 6 exempts from disclosure of personnel or medical files and similar files the
     release of which would cause a clearly unwarranted invasion of personal privacy. This
     requires a balancing of the public's right to disclosure against the individual's right to privacy.
     The privacy interests of the individuals in the records you have requested outweigh any
     minimal public interest in disclosure of the information. Any private interest you may have in
     that information does not factor into the aforementioned balancing test. Specifically, the
     information being withheld, as indicated on the enclosed documents, under FOIA Exemption
     6, consists of names, identities, email addresses, VA usernames, phone numbers, cellular
     numbers, of federal civilian employees and private citizens; we do however release the names
     of VA Senior Executives. Federal civilian employees and private citizens retain a significant
     privacy interest under certain circumstances, such as in instances where the release of their
     information could represent a threat to their well-being, harassment, or their ability to function
     within their sphere of employment. The federal civilian employees and private citizens whose
     information is at issue have a substantial privacy interest in their personal information. In
     weighing the private versus the public interest, except names of VA Senior Executives, we
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find that there is no public interest in knowing the names, identities, email addresses, VA
usemames, phone numbers, cellular numbers, of federal civilian employees and private
citizens. The coverage of FOIA Exemption 6 is absolute unless the FOIA requester can
demonstrate a countervailing public interest in the requested information by demonstrating
that the individual is in a position to provide the requested information to members of the
general public and that the information requested contributes significantly to the public's
understanding of the activities of the Federal government. Additionally, the requester must
demonstrate how the public's need to understand the information significantly outweighs the
privacy interest of the person to whom the information pertains. Upon consideration of the
records, I have not been able to identify a countervailing public interest of sufficient magnitude
to outweigh the privacy interest of the individuals whose names are redacted. The protected
information has been redacted and (b )(6) inserted. "Withholding a telephone number or e-
mail address, alone, is not sufficient to protect that [privacy] interest; alternate means of
contacting and harassing these employees would be readily discoverable on the Internet if this
court ordered their names disclosed." Long v. Immigration & Customs Enft, 2017 U.S. Dist.
LEXIS 160719 (D.C. Cir. 2017).

FOIA Mediation
For any questions regarding the processing of this request, you have the right to seek
assistance from the VA FOIA Public Liaison or the Office of Government Information Services
(OGIS). As part of the 2007 FOIA amendments, the Office of Government Information
Services (OGIS) was created to offer mediation services. Similarly, as part of the FOIA
Improvement Act of 2016, VA established a FOIA Public Liaison to offer mediation services.
You may contact OGIS and the VA Public Liaison in any of the following ways:

Office of Government Information Services:
E-mail Address: ogis@nara.gov
Fax: 202-741-5769
National Archives and Records Administration
Room 2510
8601 Adelphi Road
College Park, MD 20740-6001

VA FOIA Public Liaison:
Name: Darryl L. Webb
E-mail: vacofoiaservice@va.gov

Appeal Rights
Please be advised that should you desire to do so; you may appeal the determination made in
this response to:

Office of General Counsel (024)
Department of Veterans Affairs
810 Vermont Avenue, N.W.
Washington, D.C. 20420
E-mail: ogcfoiaappeals@va.gov

If you should choose to file an appeal, please include a copy of this letter with your written
appeal and clearly indicate the basis for your disagreement with the determination set forth in


                                                    2
3/19/24, 9:52 PM    Case 7:24-cv-00033-WLS                  Document     1 Request
                                                                Gmail - FOIA FiledNo.:
                                                                                   04/17/24
                                                                                       24-04875-F Page 19 of 39




            Gmail                                                                                Alika Seay <alika.seay84@gmail.com>



  FOIA Request No.: 24-04875-F
  1 message

  OGC FOIA Requests <OGCFOIARequests@va.gov>                                                                 Mon, Jan 22, 2024 at 2:54 PM
  To: "alika.seay84@gmail.com" <alika.seay84@gmail.com>


    Good Afternoon,


    Please find the attached letter acknowledging receipt of your January 22, 2024 FOIA request
    submitted to the Office of General Counsel's FOIA Office.




    Thank you,

    Greg Draves

    OGC FOIA/Privacy Officer

    The Office of General Counsel

    Information & Administrative Law Group (024)

    Department of Veterans Mfairs

    810 Vermont Avenue, NW

    Washington, DC 20420
    Phone: (202) 461-7752




     ~ OGC Acknowledgment Letter.pdf
         199K




https://mail.google.com/mail/u/0/?ik=ae502dff50&view=pt&search=all&permthid=thread-f:1788821646781731949&simpl=msg-f: 178882164678 1731 949   1/1
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8. Basis of Claim

    •   In October 2007 when I arrived at Tyndall AFB, I was invited to a welcome party for all the new
        Airmen by my immediate supervisor Ssgt Dennis Beck. When I arrived at his home there were
        approximately 20 people including all the other dining facility supervisors, his wife, kids, and
        brother which gave me another layer of false security. Surely my brand-new supervisor wouldn't
        do anything wrong amongst his coworkers and family. As the night went on, everyone at the
        party began to have drinks and enjoy themselves. Beck took the liberty of bringing me a myriad
        of different alcoholic beverages to "try" and I indulged. Eventually, I noticed that the crowd
        began to die down which invoked the thought that I should be leaving soon. Awkwardly, his wife
        and kids were among the first to leave. After drinking the last drink I could withstand, I began to
        feel disoriented rather than the usual drunk feeling that alcohol gives. I was extremely and
        violently sick out of the blue. I asked Beck if he could drive me back to the barracks because I
        could no longer stand up much less operate a vehicle. During the drive to the barracks (4 miles
        away), he pulled over 4 times for me to vomit. Although incapable of comprehending anything, I
        still remember having to remove Beck' s hand from my thigh. Once we arrived at the barracks,
        he had to assist me out of his car. Sensing danger, I pulled myself together enough to beg him to
        go and get Airmen Jennifer Frerichs to help me into my room twice. His response was " I'm not
        going to do anything to you. I'll put you in your bed and leave." I knew that was a lie but at that
        point, I could no longer talk or defend myself. The last thing that I remember before losing
        consciousness is the door flying open, making it to my bed, collapsing and Beck's ugly face
        standing over me. The next day when I woke up, I was in completely different underwear and
        clothes. I felt a sharp pain in the bottom of my stomach and pressure in my vagina . When I
        looked around my room, I saw my massager on the dresser covered in Vaseline and blood . I
        immediately called Beck in a panic. I asked him what happened and why was I in different
        clothing. While laughing, he told me that I had vomited on my shirt, and he changed it. I then
        told him (yelling and crying) that I repeatedly told him to get my friend Jennifer to help me and
        that he had done more than he was telling me. Lastly I asked him why did he change my
        underwear..again he laughed and said "He didn't do anything to me." THIS WAS CLEARLY A LIE !!
        I called my mother and sister and told them what happened to me. My mom told me to report it
        to my higher-ups. That day, I took a handful of Benadryl, drank half a bottle of Smirnoff vodka
        and slump into the biggest depression of my life. The fear of potentially being hurt of losing my
        life had me shaking (It is widely known that the Armed Forces punish female soldiers for
        reporting damaging incidents) but I had too. When I went to work at the dining facility the next
        day, I immediately pulled SSgt Lizandra Alvarez to the side and told her everything that
        happened. Her response while laughing in my face was " Nothing will happen to him. He is one of
        the favorites." After the letdown of my life, with tears streaming down my face, I entered the
        dining facility. Staff Sergeants Hudson, Hart, and Garrett burst out into laughter and began to
        mock the worst day of my life. I wanted nothing more than to die right there in that dining
        facility. All my "superiors" were aware of the sexual assault and instead of helping me, it was a
        big joke to them. Although I knew my life was potentially in danger, I had to tell my superiors.
        Over time, I told other Airmen and another female Sgt first name Janice (all I can remember)
        and still no one helped. For this reason, so many female Airmen are suffering the horrible
        damage that a woman lives after a rape. We are not heard and ignored in most cases. Nobody
        wants to be treated like I was treated and ultimately discharged for a situation that I had no help
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In December 2009 while suicidal, I felt that I had suffered enough, and it was time to put the
embarrassment aside and apply for disability benefits and help. My C and P exam was in Gainesville, FL.
Yet again, I was completely disregarded by the doctor conducting the examination even after explaining
the rape and PTSD. I was denied shortly after. The denial CRUSHED ME. The USAF/VA have failed me
again. I had no guidance or assistance simply a denial letter. I spiraled downhill extremely fast. I was
unable to keep any job and my menstruation issues only got worse. I had become a sick loser, and
nobody was listening to me. I have been complaining about worsening stomach issues and MST PTSD for
over TEN YEARS and as of today July 29, 2022 NEITHER issue has been resolved or remedied {CFR §
750.23 (A)§ 536.74 A-1-and a-ii Negligent Conduct). I have been treated like a guinea pig. I have told
different doctors that so many medications that I have been prescribed were not working only to be
prescribed the same thing or something worse. The extent of help that I have received by the VA for
chronic pain has been ultrasounds and MRl's. I have begged at least 20 doctors (§750.23 (d) Scope of
Empoyment) to perform some type of surgery to help me only to receive no help. Pain and mental
illness are a recipe for suicide. Unlike other malpractice cases, I have not lost my physical life, nor have I
given birth to a severely disabled child, but it is obvious that I have lost so much of my life. As far as my
conditions are concerned the VA has failed to: administer medical tests, made misdiagnoses, delayed
diagnosis, lack of informed consent, healthcare provider errors, and medication/pharmaceutical errors.
In each instance there was a doctor-patient relationship, multiple doctors breached the duty of care,
and the breach of care caused me more injuries that could have been prevented/treated. This ordeal is
intentional infliction of emotional distress. The distress that I have endured is of such intensity and
duration that no ordinary person would be expected to tolerate. Over the past 5 years, the pain has
become so intense that I have no quality of life. I have also called the Crisis line, White House VA,
patient advocate, and clinical support line multiple times in an effort to be heard and receive help for
the worst pain of my life only to be bombarded with dozens of phone calls the next day that serve no
purpose(§ 536.77 3-1,iv, and vii) Non-economic damages). One year, Valdosta VA had begun to prescribe
me 50 mg Tramadol (30) for pain. After 2-3 months, I told my primary care physician that the 30
tramadol was not enough and if I am expected to continue to use it for pain, I needed more. Once again,
I was ignored. It has always been my belief that the primary concern of healthcare is to reduce pain and
suffering. After being told by a former VSO (white male) that he was prescribed the medicine (for a
shoulder injury) that he asked for with no effort, I sunk even further into depression. However,
throughout the mental illness, I did a little research, and the VA has an issue with prescribing the proper
pain medication to black people. Statistically speaking, black people are expected to be able to
withstand more pain than white people and that is far from the truth. Research shows that black
veterans/patient's pain will likely be underestimated and undertreated. Extant research shows that
black patients are given lower quantities (when I reported the Tramadol issue to primary care) or no
pain medication at all (for the past 4 years). Unlike my situation and experience has been, opioids are
the appropriate treatment for moderate to severe pain. Instead, I would have to go to my local
emergency room repeatedly to get medicine that would work for an hour. Doctors have repeatedly
recognized my pain and refused to treat it just as the supervisors on Tyndall Afb were informed of MST
and watched me decline mentally and physically to the point of being discharged. It is a complete
injustice that in 2022 any American is living life with chronic pain and not being treated. In conclusion,
medical malpractice is defined as any act or omission by a physician during treatment of a patient that
deviates from accepted norms of practice in the medical community and causes injury to the patient*
The USAF and VA have taken so much from me and it is time that I receive justice. I do not want to die a
       Case 7:24-cv-00033-WLS               Document 1         Filed 04/17/24        Page 22 of 39



premature death due to medical malpractice. The Veteran' s Administration is fully capable of treating
my sickness as well as prescribing medicine to remedy this horrible existence I am living. As I write this
letter, I am lightheaded, unclean and experiencing the worst pain of my life. I am unable to take care of
my daughter properly. Imagine the missed meals, baths, arts and crafts times that my daughter has
missed with her mom. She has witnessed firsthand her mother in disabling, crippling pain and she does
not deserve this. I was also unable to enroll my daughter in school this year because I am unable to
drive, dress her and prepare her for school. As a mother, it doesn't get much worse than that. Finally, as
a result of the medical malpractice from the VA I AM ABOUT TO LOSE MY UTERUS !! The agony of
knowing that I want more children is life threatening. I have told every doctor since 2006 that I want
children and I have every right to do so if I want, however, the pain is physically about to kill me due to
the neglect. My life has been stolen because I was raped by Ssgt Beck. Elaborating a little more, I have
had to purchase pain medications. I am literally sinking and barely surviving because street medicine
costs so much. It goes without saying how dangerous that situation is. What am I expected to do? What
would you do? This is nowhere near the type of pain that you can tough out. There is no valid reason fo r
me to not have my own pain medicine regardless of what it may be. In typical repeated malpractice
fashion, I have recently been prescribed a medication called Gabapentin which is primarily used to
prevent seizures!! My medical records as well as medical conditions prove that I suffer illnesses that
require pain medication. I have been to so many appointments and done everything asked of me until I
saw that I was not being considered, treated or respected . I have also suggested that I would do a
urinalysis to ensure my compliance weekly if necessary. Instead of administering proper healthcare, the
VA is constantly criticizing me about missed appointments. If I can barely shower due to chronic pain
and depression, how could I possibly attend medical appointments? The desperation that I have
experienced for years due to MST gives me more insight and understanding concerning the unfortunate
case of Michael Louis vs. State of Oklahoma. It is not right to take the life of anyone but expressing your
level of pain and not being helped is basically the medical professionals saying that your life does not
matter. Just like Mr. Louis, I have also complained multiple times about pain as well as begging for rel ief.
Surprisingly, I have been experiencing chronic pain for much longer than the suspected . I am in no way
using this example to weaponize my feelings, but it is a grim reality of how much pain affects an
individual' s mental health and everyday life. It is the duty of the Veteran's Administration to fix my
situation as much as possible and as swiftly as possible too. The Veteran's Administration has fa iled
miserably for the last for the past 15 years and I am holding them 100% responsible (§536.77 (b-1-1and
b-2-iv) Eligible Claimants). How has it failed? (For the sake of this already being a long response, I will try
and abbreviate and shorten the responsibilities of the VA to their veterans. However, make no mistake, I
am privy to all mission, vision and core value statements)

VA's five core values underscore the obligations inherent in VA's
mission: Integrity , Commitment, Advocacy, Respect, and Excellence. The core values define "who we
are," our culture, and how we care for Veterans and eligible beneficiaries. Our values are more than just
words - they affect outcomes in our daily interactions with Veterans and eligible beneficiaries and with
each other. Taking the first letter of each word-Integrity, Commitment, Advocacy, Respect, Excellence-
creates a powerful acronym, "I CARE," that reminds each VA employee of the importance of their role in
this Department. These core values come togeth er as five promises we make as individuals and as an
organization to th ose we serve.
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It would be a nightmare that I have to wait another year or two for a response after the duration and
intensity of my pain. Please please help. During the process of filing this claim, I went to the Valdosta
Outpatient Clinic and signed a records release of my mental health history including calls made to the
Veterans Crisis Line and the countless times that I have begged for pain medication/a solution to my
abdominal issues. As a result, I was sent what appears to be the same exact letter multiple times (most
recent Progress Notes that are included). The malpractice within the VA regarding my situation is so
unlawful and corrupt that I cannot trust that they will send my full medical history. Thankfully I have a
few of my own medical records to provide. There is no amount of money that could repair my mind,
body or spirit as a result of being raped and assaulted with a massager. If there is any misunderstanding
as to how I arrived at the amount of compensation I am requesting, I feel as though it is owed to me
because:

     •    Negligent and complicit supervisors were not held responsible at all nor reprimanded
     •    Sgt. Beck was not demoted, discharged, or arrested for the MST that he caused while I was
          unconscious and begging him to leave.
     •    I had a PTSD nervous breakdown at work and was threatened with discharge. I was not sent to
          a hospital nor to see a therapist.
     •    In 2009 after reporting the MST to a VA physician, I was disregarded and left untreated, and he
          only noted that I suffered from "depression".
     •    I ruined so much of my life being an alcoholic. Attempting suicide, cutting myself, and being
          arrested multiple times because I was depressed and angry.
     •    I was given a general discharge for trying my best to cope with the trauma of PTSD. No
          consideration was given to me even after reporting it to the Base Chaplain.
     •    Incurring a tremendous amount of debt that I am still nowhere near catching up to
     •    My once fully functional, heroic personality is gone and there is nothing that I can do to help
          myself. I have had to drop out of college twice due to the mental and physical associated with
          the MST. I cannot cook, clean, take care of my daughter etc. I have even applied for caregiver
          assistance with the VA because I cannot do anything. I am so afraid of what the future holds for
          my situation.
     •    Trying to accept the reality of me literally risking my life to try and get help. I feared for my life
          every time I reported the MST even at the Compensation and Pension exam.
     •    In over a decade, within the VA facilities, I have never gotten past vaginal ultrasounds, MRl's,
          countless and pointless doctor's appointments where I was being unheard and being
          prescribed an enormous number of prescriptions that did not work. Just like the recent
          epileptic medication.
     •    I have had to self-diagnose myself many times. I would tell the VA doctors what I thought my
          condition was after doing research. It was always documented as if I had been tested for the
          condition. No test were ran to confirm any condition besides blood work.
     •    Spoken with 5 patient advocates a total of 25 times within the past two years, the Veteran's
          Crisis Line 12 + times, switched doctors 10 times, countless VA specialist, VA White House
          Hotline 5 times etc.
          My family, friends, daughter and most especially I need myself back. I don't want to be at the
          mercy of the VA healthcare (only for minor things) anymore. I should be able to go to any
          doctor that I feel would give me the proper care. I deserve all the things that a fulfilling career
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    or control over. During my next menstruation, I noticed a horrible change. It was way more
    painful, and I began having blood clots. I started to drink alcohol daily and began cutting myself.
    A month later I had a severe mental breakdown at work and Alvarez once again did noth ing to
    assist me. Instead, I got in trouble. As time progressed, I became a horrible Airman. Often late,
    not showering, dirty uniforms, coming to work drunk, unable to focus, and suicidal. I started
    college in 2007 to try and cope. During this time, I was getting drunk before, during, and after
    work to cope with the trauma of having to take orders from a supervisor that assaulted me, I
    was always tired . I had no idea that this was normal behavior for a rape victim . One day I was
    scheduled for class during work hours. When the time came to go to class, I was so drunk that I
    went to my room to get ready and fell asleep. Sgt Alvarez found out about it and reported it.
    Along w ith all my other shortcomings due to depression, I received an article 15 which
    ultimately led to me being Generally discharged from the Air Force . As a last resort, I reported
    the MST once again to the base chaplain during out processing to be ignored again. There I was
    a recently discharged Airman battling depression and reproductive issues, released into society.
    My life has been a complete nightmare ever since. I received no support and no justice at all. No
    arrests, no Article lS' s, no discharge for Sgt Beck or any of his accomplices. Failure to diagnose
    (simply agreeing with what I felt was my illness and documenting it without running test or any
    other means of detection), Treatment delays and poor aftercare are all malpractice issues that I
    have been subjected to. It is public record BY LAW that the Veterans Administration is supposed
    to cover the following :

•    Treat illnesses and injuries

•   Prevent future health problems

•   Improve your ability to function

•   Enhance your quality of life

•   We cover inpatient hospital services, like:

•   Surgeries

•   Medical treatments

•   Kidney dialysis

•   Acute care (short-term treatment for a severe illness or injury or after surgery)

•   Specialized care (including organ transplants, intensive care for mental and physical conditions,
    and care for traumatic injuries)

    We cover other services and needs, like:

    Mental health services to treat certain issues like posttraumatic stress disorder (PTSD), military
    sexual trauma (MST), depression, and substance use problems.

    (www.va.gov/healthcare)
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                in the Air Force would have provided me. I am begging. How patriotic was my military
                experience? I was robbed of retirement, Chief Master Sergeant, an honorable discharge, my
                mental, my reputation, proper medical care for YEARS, JUSTICE and my ability to have children.


                                                                  Deeply troubled and scared
                                                                          Alika Seay

       P.S. Also please take into consideration how painful it is to relive this situation repeatedly. I am the 2006
       version of Vanessa Guillen except I have died more than once. Help me. Dennis Beck needs to be
       arrested .

       *All sentences that cite CFRs were wrote after reading that regulation mentioned . *

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MEDICAL RECORD                                                       Progress Notes

NOI'E DATED: 07/03/2018 10:43
u::a\L TITLE: OUTPATIENT PREVENTIVE HEALTH & PATIENT EDUCATION (T)
STANDARD TITLE: NURSING NOI'E
VISIT: 07/03/2018 13:00 VAL PACT MD8 Rl
CHIEF COMPLAINT:
SEAY,ALIKA MONET 33 FEMALE here for provider visit


ACTIVE PROBLEMS:
BY}?ertension (SCT 38341003)             Epigastric pain (SCT 79922009)
Diarrhea (SCT 62315008)                  Depressive episode (SCT 35489007)
Sleeplessness (SCT 193462001)            History of alcohol abuse (SCT 371434005)
Depressive disorder (SCT 35489007)       overweight
H/O: depression                          Routine Med Exam
Tobacco use (SCT 110483000)              Other Specified Counseling
Pelvic and perineal pain (SCT 274671002)Pelvic inflammatory disease
Gynecological examination no:rmal (SCT 45Psoriasis
Obesity (SCT 414916001)                  GERD
Acne


AI.LERGIES:Patient has answered NKA



HT: 65 in [165.1 cm] (07/03/2018 10:41)
wr: 222 lb [100.9 kg] (07/03/2018 10:41)
BMI: Patient's BMI is 37 on Jul 03, 2018@10:41:13
TEMPERA'IURE:98.9 F [37.2 C] (07/03/2018 10:41)
PULSE: 100 (07/03/2018 10:41)
RESPIRATION: 18 (07/03/2018 10:41)
BP:139/90 (07/03/2018 10:41)
PAIN:4 (07/03/2018 10:41)

HABITS:
TOBACCO:YES-2 PER DAY X 5 YRS
ALCOHOL:DENIES
ILLICIT DRUGS:DENIES

NEW MEDICATIONS:DENIES

OUTSIDE PROVIDERS:DENIES

Primary Care Check in
Reason for visit: Other ANNUAL

Do you need outside prescriptions for local fill at Veteran expense?
  No

Have you been hospitalized since your last visit?
                     ** THIS NOI'E CONTINUED ON NEXT PAGE **
SEAY,ALIKA MONET                                         Printed:04/29/2019 16:14
                  N FIDRIDA/S GEORGIA VETERANS HEALTH SYSTEM
XXX-XX-XXXX OOB:11/10/1984    Pt Loe: OUTPATIENT                    Vice SF 509
               Case 7:24-cv-00033-WLS       Document 1   Filed 04/17/24   Page 27 of 39


      MEDICAL RECORD                            CONSULTATION SHEET
SEAY,ALIKA MONET                                SC LESS THAN 50%
XXX-XX-3291      11/10/1984 (Age: 34)           SC VETERAN
Consultation Results #99574044 continued.

        - Using a combination of behavioral counseling or other support
          strategies and FDA-approved cessation medications is the most
          effective way to ensure success in quitting.

      Patient was offered Behavioral Counseling and other support
      strategies to assist with quitting. Discussion with patient
      included:
        - Behavioral counseling or other support strategies greatly
          increases your chances of successfully quitting smoking or
          tobacco use by helping you develop a quit plan and providing
          support and other strategies to make behavioral changes to
          help you quit.
        - VA has a number of behavioral counseling options to help you
          with quitting, including:
          * Provide information about the facility smoking or tobacco
            use treatment options or clinics
          * VA'S national quitline, 1-855-QUIT-VET, with counseling
            available Monday-Friday
          The patient was not interested in receiving additional
          information about how to use the treatment options discussed.

      Patient was offered FDA-approved cessation medications. Discussion
      with patient included:
        - Medications for Nicotine replacement therapy such as the
          patch, gum or lozenge, and other medications such as varenicline
          or bupropion, can play an important role in the initial weeks
          and months after you quit smoking or tobacco use .
        - Medications help with cravings and withdrawal symptoms and they
          greatly increase your chances of successfully quitting.
          The patient was not interested in a prescripti on for tobacco
          cessation medications .
  OEF OIF Case Management:
    Veteran is an OEF/OIF Combat Veteran.
    At today's visit OEF/OIF Combat Veteran who was scr eened for;
    homelessness, mental health concerns, substance abuse issues, suicidal
    and homicidal ideations, problems accessing VA healthcare services and
    benefits, adjustment to civilian life(family/spouse/children), and
    legal issues.
    Within the last 12 months veteran indicated experiencing the
    Following:
    Homelessness or pending homelessness
    Referrals made to address:
     HCHV from Jacksonville
    Suicidal/homicidal ideations and/or attempts
      Referrals made to address: this is first session with general MH
    Problems accessing VA healthcare services and benefits
      Referrals made to address: problems with pain

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                     DEPARTMENT OF VETERANS AFFAIRS
                    North Florida/South Georgia Veterans Health System
                                   1601 SW Archer Road
                                 Gainesville FL 32608-1197




January 5,

Alika Seay
2279 Bewb rry Road
Quitman, G orgia 31643

Dear Ms. S

      This I tter is in reference to your Clinical Appeal received October 6, 2021 . It
is Veterans ealth Administration (VHA) policy that patients have access to a fair
and impartia review of medical determinations.

      Your inical appeal is related to assistance with control of your chronic
abdominal a d pelvic pain . The Chief of Staffs office consulted with Dr. Quynn
Gingrich, on of the VA's Pain Medicine specialists. Dr. Gingrich had concerns
related to d ngerous unprescribed medications found in your urine drug screen from
December o 2020. However, it was their conclusion that we should work to help
you obtain b tter pain control.

      As su h, your Clinical Appeal is approved. Please follow-up with your Primary
Care provid r for a repeat urine study and discussion of next steps. An important
part of your , ain control will be regular follow-up with a gynecology provider. You
were previo sly referred to a Community Care gynecology specialist, but numerous
appointment were cancelled or not kept. We will renew this referral , but it is very
important th t you attend all scheduled appointments.

      If you ave questions about the appeals process, please contact the Patient
Advocate's ffice at (352) 548-6019. If you have questions about the clinical
decision, pie se contact the Chief of Staff's Office at (352) 548-6018.

                                    Sincerely,
                 Case 7:24-cv-00033-WLS    Document 1   Filed 04/17/24   Page 29 of 39


MEDICAL RECORD                                                       Progress Notes
----------- ·--------------------------------------------------------------------
NOI'E DATED: 03/05/2018 16:01
LOCAL TITIB: MENTAL HEALTH MULTIDISCIPLINARY NOI'E
STANDARD TITIB: MENTAL HEALTH INTERDISCIPLINARY NOI'E
VISIT: 03/05/2018 14:08 VAL PCMHI IND
INDIVIDUAL NOI'E:

Date & Time of Session: Mar 5,2018@14:10
Length of Session: 40 minutes.
Present in Session: Pt and undersigned.

INFORMED CONSENT: psychology service info:rmed consent procedure was followed:
provided the relevant information about her/his evaluation/treatment; and
given the opportunity to ask questions. Consent for evaluation/treatment
was voluntarily given. The patient has sufficient decision-making capacity
to make such a decision.

MENTAL STATUS:
ORIENTATION: Alert and oriented to person, place, and time
MOOD: Euthyrnic
AFFECT: Appropriate
APPEARANCE: Neat, grcx:med
SPEECH: Normal
MEMORY: Grossly intact (though not formally tested)
INSIGHT: Good
JUIX3MENT: Intact
LANGUAGE: Intact
PERCEPTIONS: Reality based
THOUGHT PROCESS AND ASSOCIATION: Goal oriented, logical
THOUGHT CONTENT: Relevant to discussion
FUND OF KNOWLEDGE: Average
ADDITIONAL OBSERVATIONS:

Session Content:
Vet was seen as a walk-in She was last seen by this provider on 02/03/16. When
she comes into the office, she says, "are you ready?" She says that she has
known for quite some time that her "decline" was due to MST in 2005. Since that
time, she feels that this has interfered with every aspect of her life. She says
that she feels unsure of herself, that everyone is out to het her and that she
cannot work in a positive manner with male supervisors. She has urges to last
out at people. She feels that the only thing that keeps her sane is her newborn
daughter. She says that she feels sad, second guesses herself and has difficulty
with sleep. "My life is horrible." She says that she came today out of her
concern that her symptoms not affect her daughter.
Vet was asked to remind provider about the MST, which occurred in 2005. She had
just transferred from Anderson to Tyndall AFB and there was a welcome gathering
for her. Her supervisor, SSgt Beck was there, along with his wife, his brother
and several other people. She had been drinking a good bit and told him that she
did not feel well and needed to go home and he took her. She had been wearing
one outfit the night before and, when she woke up, she was wearing completely
                     ** THIS NOI'E CONTINUED ON NEXT PAGE**
  '.AY,ALIKA MONET                                        Printed:04/29/2019 15:10
                   N FLORIDA/S GEORGIA VETERANS HEALTH SYSTEM
   '-49-3291 OOB:11/10/1984    Pt Loe: OUTPATIENT                    Vice SF 509
                 Case 7:24-cv-00033-WLS   Document 1    Filed 04/17/24   Page 30 of 39


MEDICAL RECORD                                                       Progress Notes

03/05/2018 16:01       ** CONTINUED FRCl-1 PREVIOUS PAGE**
different clothing, including underwear. She also recalls that she "felt funny
in my pri vate area." When she asked him about her change in clothing, he t old
her that she had thrown up on herself and that he had changed her clothes. She
later rrentioned this in front of other sargeants and they da,.mplayed it . She
realized that her supervisor was a favorite at that post, so did not pursue it.
"I haunts rre every single day . "

Since our last :rreeting, vet




When asked, vet says that her goal for sessions is that "I just want to be
normal. It's so bad and it's taken over so much ... I need to get myself
together." She is willing to try another antidepressant. She notes that she has
taken sertraline and duloxetine in the past, but did not like the SE's. Will
consi der pursuing another antidpressant if she is not breastfeeding.

SAFETY ASSESSMENT:

The pati ent is currently having thoughts of suicide: NO


Current hanicidal ideation: NO
CLINICAL REMINDERS:


Active Problems:
1. Hypertension (SCT 38341003)
2. Epigastric pain (SCT 79922009)
3. Diarrhea (SCT 62315008)
4. Depressive episode (SCT 35489007)
5. Sleeplessness (SCT 193462001)
6. History of alcohol abuse (SCT 371434005)
7. Depressive disorder (SCT 35489007)
8. Overweight (ICD-9-CM 278.02)
9. H/O: depression (ICD-9-CM Vll.8)
10. Routine Med Exam ( ICD-9-CM V70. 0)
                      ** THIS NOIB CONTINUED ON NEXT PAGE**
SEAY,ALIKA MONET                                         Printed:04/29/2019 15:10
                  N FLORIDA/S GEORGIA VETERANS HEALTH SYSTEM
XXX-XX-XXXX OOB:11/10/1984    Pt Loe: OUTPATIENT                    Vice SF 509
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      MEDICAL RECORD                             CONSULTATION SHEET

SEAY,ALIKA MONET                                   SC LESS THAN 50%
XXX-XX-3291      11/10/1984 (Age: 34)              SC VETERAN

PROVISIONAL DIAG: Pelvic and Perineal Pain(ICD-10-CM Rl0.2)

REQUESTED BY:                           PIACE:                  URGENCY:
STOUT,AI.AN WAYNE                       Consultant's choice     Routine
PHYSICIAN
(Pager: )                               SERVICE RENDERED AS:    CLINICAILY IND. DATE:
(Phone: 2293162619 1229)                Outpatient              Jul 31, 2018



                       CONSULTATION NOI'E #94943161


 LOCAL TITLE: GYNECOLOGY CONSULT
STANDARD TITLE: OB GYN CONSULT
DATE OF NOI'E: AUG 02, 2018@14:16      ENTRY DATE: AUG 02, 2018@14:16:49
      AUTHOR: STATON,JORDAN PREIS    EXP COSIGNER:
     URGENCY:                              STATUS: COMPLETED

   *** GYNECOLOGY CONSULT Has ADDENDA***
NEW GYN

Requesting provider: Stout (PCP)

CHIEF COMPIAINT: Pelvic pain

HPI: Ms. (See) SEAY,ALIKA MONET is a 33 y/o G2 Pl0ll who presents for evaluation
of her chronic pelvic pain.

Patient previously seen by GYN Dr. Stevens (last visit in June 2015). At the
time visit was listed for PCOS, but appears that primary issue was chronic
pelvic pain and h/o ASCUS Pap smear (from 2010) without follow up. Dr. Stevens
updated a Pap smear (that was normal). They also discussed the likely
multifactorial origins of her pain which extended to the epigastrum and bladder.
She also noted a h/o childhcx:x:l sexual abuse and family history of BRCA (rrorn
breast cancer), but pt never responded to genetics consults.

Pt believes she was diagnosed with endometriosis while she was in the military.
- Has had chronic pelvic pain since at least 2005
- Never had laparoscopy

Pt continues to report chronic pelvic pain daily, worse with menses.
- Pain is present every single day, worst with standing up
- It is located in the lower abdomen and sometimes in the left flank
- Pain is described as "stabbing" in nature
- Notes+ dysmenorrhea, + dyspareunia, + dysuria, + dyschezia
- Had a 'IVUS at South Georgia Medical Center in June 2018
        Pt was told she had a "big cyst on her left ovary"
- Taking chronic ibuprofen and Tramadol


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Progress Notes                                                                                                   Printed On Jan 19, 20 16

           MEDICAL HISTORY:
           Vet endorses PCOS and psoriasis. She has sleep apnea but has not been prescribed
           a machine . She was in an MVA in 2014 and experienced a LOC for several minutes .

           PSYCHOSOCIAL HISTORY :

           Family of Origin:
           Vet has grown up in Quitman as one of three children. Her parents separated when
           she was two years old. Her mother is 51 and disabled due to a h/o CA. She
           describes their relationship as "up and down . " Her father is 55 and she has had
           an ongoing relationship with him . He is the supervisor at warehouse . She
           describes him as the " greatest dad on the planet." Both parents have remar r i ed .
           Vet denies any family history of psychiatric illness Her mother and PGM have a
           history of alcohol abuse. When asked about childhood abuse, she recalls that her
           childhood was " full of it ." She was raped at the age of 6 by a cousin on one
           occasion . A friend attempted to rape her when she was 14. She also identifies
           other physical and emotional abuse .

           Education/ Employment History :
           Vet has an Associate's degree in mass communication . She is currently working
           online for a degr ee i n para l egal studies . Sh e says that she is failing her
           classes and attributes this to the current level of stress. Vet entered the USAF
           at 19 and se r ved for four years . She was in Services and worked with the
           mortuary overseas . She was in a war zone and deployed to Qatar, but was not in
           combat . When asked about MST , she says that she was sexually approached by a
           supervisor. She had been drinking , he touched her inappropriately and she fought
           him off . She rec e ived an Article 15 for not going to school when she was
           supposed to do so . She was release d on 08 / 31/07 with an General Discharge . As
           noted , she has been employed at VSP x2 years. She works from 1730 - 0630. She
           has worked in the tower and in the perime t er car in the past. Most recently, she
           has been assigned to work in the control booth of the mental health dorms. In
           the past , she has had temporary jobs , but ha s also worked as a wild-land
           firefighter for two years . Given her preference , she would most prefer to work
           in dispatch.

           Relationship History :
           Vet has never been married and has no children . She has been in a relationship
           for eight months . He is currently unemployed .
                  I
           Current Functioning :
           Vet lives with her boyfriend , her sister and her sister ' s children in a mobile
           home where she has been for the past 18 months . She enjoys listening to TD
           Jakes, an inspirational speaker , listening to music and working on her
           schoolwork when she is in the right frame of mind. When asked about additional
           stre s sors , vet says that she has had several close relatives pass away o ver the
           past four years . One of these wa s her aunt and she is now very involved in the
           care and rai s ing of those children. She has new roles and responsibilities as a
           result of that. She said that she has always been a "people - pleaser " and the
           family has always seen her as the strong one. " Everybody depends on me to be a
PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Medical Documentation
SEAY , ALIKA MONET                                               Printed at NF/SG VA
710 SAVANNAH AVE
QUITMAN , GEORGIA            31643
DOB : 11/10/1984


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Progress Notes                                                                       Printed On Jan 19, 2016
           strong person . I don ' t know what is happening to me . My whole world is caving in
           on me ." When asked to describe her mood , she says , " Words cannot describe how
           bad of a mood I ' ve been in . I am stressed to the max . That ' s not me. " Her sleep
           is poor and she has not been eating regularly . When asked , she admits that she
           had attempted to OD with the OTC sleeping pills last week. We discussed the
           possibility of hospitalization , but vet denies current ideation , plan o r inte nt .
           " I have too many people around me to concentrate on that ."

           SAFETY ASSESSMENT:

           The patient is currently having thoughts of suicide : NO
               If yes :
                 [ ) Pt endorses specific PLAN for self-harm
                 [x) Pt DENIES specific plan for self - harm at this time

                      [ ] Pt endorses INTENT for self-harm
                      [x) Pt DENIES intent for self - harm at this time

                      [x) Pt endorses possessing the MEANS for self- harm , e . g . OTC sleeping
                          pills .
                          Pt DENIES possessing means for self - harm at this time
                          Guns in home : NO
                          Patient counseled about gun safety and educated about proper
                              storage/security of weapons

            [ ) Other relevant suicide indicators : check all that apply:
                      [x) Past suicide attempt as above .
                      [ ) Family hx of suicide
                      [x) Hx of mental disorders , esp . depression and anxiety
                      [x) Hx of alcohol or substance dependence
                      [x) Feelings of hopelessness or helplessness:
                           [ ) Minimal
                           [x) Moderate
                           [ ) Severe
                           [ ) Acute onset
                           [ ) Chronic , but stable
                          Recent loss (social , work , financial)
                          Ne w dx or increase in physical illness
                          Social isolation (widowed , divorced , separated)
                          Pt is:
                               White
                               Male
                               <25 years of age or >45 yrs of age

                      [ ] Relevant suicide protective factors : check all that apply:
                          [x) Pt has family and community support
                          [x) Pt actively involved in mental health tx
                          [x) Pt has easy access to ongoing mental health support
                          [x) Pt has good problem solving skills
                          [ ] Pt has cultural or religious beliefs opposed to self-harm
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Progress Notes                                                                                                     Printed On Jan 19, 2016
                            [x]   Pt is responsible for care to children or family
                            [x]   Pt can express other plausible reason to live

                 [x] Based on above , pt is at risk for suicide : mild
                        [ ] A safety contract is not necessary at this time ; pt will c all
                            9- 1-1 or go to nearest ER should SI develop or intensify
                        [x] A safety contract has been established : pt agrees to present t o
                            ER or call 9-1-1 should SI intensify or if pt begins to
                            contemplate a plan . Vet agrees to call this provider on a PRN
                            basis and was given provider ' s desk phone number . Vet assures
                            provider that she will be safe until our appointment next week.
                            Pt refuses to con t r act for safety: 911 called/pt escorted to ER
                            Consults placed to other MH services in accordance w/ tx plan
                            Pt safety will be monitored during future visits
                            Pt provided with list of suicide help res o urc e s


           Current homicidal ideation : NO




                                                      MEDICAL INFORMATION

           (include response to medications , any medication side effects)
             a) CURRENT MEDICAL PROBLEMS: 1 . Overweight (ICD - 9- CM 278 . 02)
           2 . H/0 : depression (ICD - 9- CM Vll . 8)
           3. Routine Med Exam (ICD - 9- CM V70 . 0)
           4 . Tobacco user (ICD- 9- CM 305 . 1)
           5. Other Specified Counseling (ICD - 9- CM V65 . 49)
           6 . Pelvic Pain (ICD-9 - CM 625 . 9)
           7. Pelvic inflammatory disease (ICD - 9- CM 614 . 9)
           8 . Abnormal Pap Smear (ICD - 9- CM 795 . 00)
           9 . Psoriasis (ICD - 9 - CM 696 . 1)
           10 . Obesity (ICD - 9-CM 278 . 00)
           11 . GERO (ICD - 9- CM 530 . 81)
           1 2 . Acne (ICD-9-CM 706 . 1)

            b) CURRENT VA- PRESCRIBED MEDICATIONS:
           Active Outpatient Medications (including Supplies) :

                   Active Outpatient Medications                                                          Status

           1)      CHOLECALCIFEROL (VIT D3) 400UNIT TAB TAKE TWO TABLETS                                  ACTIVE
                     BY MOUTH ONE TIME EACH DAY FOR SUPPLEMENTATION OF
                     VITAMIN D
           2)      MINOCYCLINE HCL 50MG CAP TAKE ONE CAPSULE BY MOUTH                                     ACTIVE
                     ONE TIME EACH DAY FOR FACIAL ACNE
           3)      OMEPRAZOLE 20MG EC CAP TAKE ONE CAPSULE BY MOUTH                                       ACTIVE
                     EVERY MORNING 1/2 HOUR BEFORE BREAKFAST FOR STOMACH
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Progress Notes                                                                        Printed On Jan 19, 2016
                         1 . Have had any nightmares about it or thought about it when you
                         did not want to?
                         Yes

                         2. Tried hard not to think about it or went out of your way to
                         avoid situations that remind you of it?
                         Yes

                         3 . Were constantly on guard , watchful , or easily startled?
                         Yes

                       4. Felt numb or detached from others , activities , or your
                       surroundings?
                       Yes
                     Alcohol Screen AUDIT C
                       An alcohol screening test (AUDIT-C) was positive (score=7).

                         1 . How often did you have a drink containing alcohol in the past
                         year?
                         Four or more times a week

                         2. How many drinks containing alcohol did you have on a typical
                         day when you were drinking in the past year?
                         3 or 4

                       3. How often did you have six or more drinks on one occasion in
                       the past year?
                       Monthly
                     Brief Suicide Screen
                     BRIEF SUICIDE SCREEN
                       1. In the past two weeks have you had thoughts of killing
                       yourself?
                         Yes
                           la . Do you have a plan?
                           No

                                 lb . Do you have the means to carry out your plan?
                                 Yes

                               le . Do you intend to carry out your plan?
                               No
                         2. Have you ever had a suicide attempt?
                           Yes
                              Description\Dates : OD on OTC sleep aid last week.
                         3. Have you heard voices telling you to harm or kill yourself?
                           No
                         4. Has anyone in your family ever attempted suicide?
                           No

                        Was the screening tool positive as described above?
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Progress Notes                                                                                                    Printed On Jan 19, 2016
                            Yes
                              COMPREHENSIVE SUICIDE RISK ASSESSMENT

                                Has the patient presented with suicidal ideation , threats , or
                                self - harm within the past 30 days?
                                 Yes
                                Specify : OD with OTC sleep aids last week.

                                RISK FACTORS IDENTIFIED:

                               Psychiatric/ Suicidal History :
                                     Current Mental Disorder (especially Mood Disorder) ,
                               Active Alcohol or Substance Abuse , Feelings of
                               pessimism/hopelessness , Anxi o us/agitated


                               Access to weapons/firearms :
                                    No access to weapons

                                Demographics :
                                    Negative for risk demographics                       (male , elderly , c au c asi an)

                               Military Service :
                                     No military stressor identified , Physical/Sexual assault
                               while in service


                                Family Stressors :
                                      No family conflicts identified


                                Financial issues :
                                   No negative financial issues identified


                               Medical issues :
                                     No significant medical problems


                               Other Findings :


                               ESTIMATED RISK LEVEL:
                                    Low (no suicide specific actions are needed)
                                Vet does , however , agree to a safety plan and will call thi s
                               provider on a PRN basis . She assures provider that she will
                               be safe until next session which is scheduled for next week .

                               SAFETY ACTIONS :
                                   Other actions are needed now :
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                                           DEPARTMENT OF VETERANS AFFAIRS
                                               Board of Veterans' Appeals
                                                    Washington, DC

                                                       March 9, 2022

                                                                        In Reply Refer To:   014/AOD/4643
                                                                        ss 256 49 3291

            Alika M. Seay
            2279 Dewberry Road
            Quitman, GA 31643

            Dear Ms. Seay:

                  This is the ruling on the motion, received in this office on January 26, 2022, to
            advance your case on the Board of Veterans' Appeals (Board's) docket.

                    Appeals must be considered in docket number order, but may be advanced if
            sufficient cause is shown. 38 ·u.s.c. § 7107(b); 38 C.F.R §§ 20.800(c), 20.902(c).
            Sufficient cause includes advanced age (defined as 75 years or more), serious illness,
            severe financial hardship, or adminjstrative error resulting in a significant delay. An
            appeal may also be advanced if the case involves interpretation of a question of law of
            widespread application affecting other claims, although this is extremely rare . Any
            motion for advancement should be supported by pertinent documentation.

                    In your case~ the evidence indicatesttiat you do not meet the requisite 75 ye_ar -
            age requirement. There is also insufficient supporting medical evidence to demonstrate
            that you have an illness so serious or grave in nature that advancement is warranted.
            Neither is there evidence that demonstrates severe financial hardship such as a
            pending bankruptcy, home foreclosure, or homelessness. General financial difficulties
            alone are insufficient. Finally, there is no evidence of administrative error resulting in a
            significant delay or misinterpretation of a question of law.

                    In the absence of sufficient cause, your motion is denied . In accordance with this
            ruling, your appeal will remain in its current docket number order. If you submit
            additional evidence supporting advancement and set forth succinctly the grounds for
            consideration, I would be willing to consider another motion. You will receive a copy of
            the Board's decision as soon as it is issued.       •

                                                          Sincerely,
                                                                ------~
                                                          f;rZZ-
                                                          Thomas M. Rodrigues
                                                          Deputy Vice Chairman
                                                          Board of Veterans' Appeals


            cc: American Legion



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                                                                          Torts Law Group
                       U.S. Department of Veterans Affairs
   VAi.
                                                                          81 0 Vennont Avenue, NW
                                                                          Washington, DC 20420
                       Office of General Counsel                          Telephone: (202) 461-4900

                                                                          In Reply Refer To: GCL 510978

           Via Certified-Mail 7008 2810 0000 8922 51_90

           September 20, 2023

           Anika Seay
           2279 Dewberry Road
           Quitman, GA 31643


_____ _ -·_ RE: Administrative Tort Claim

           Dear Ms. Seay,

           We would like to share our appreciation for your service to our country.

           The U.S. Department of Veterans Affairs (VA), Office of Chief Counsel, has thoroughly
           investigated the facts and circumstances surrounding the administrative tort claim you
           filed on November 7, 2022. You alleged that while serving your country you suffered a
           sexual assault by your immediate supervisor in 2007. After discharge, the VA denied
           your claim for service-connected benefits. Finally, you assert that the VA Medical
           Center providers failed to treat your "stomach issues" and military sexual trauma and
                            .
           post-traumatic stress disorder arising from the assault in 2007 .

           Our adjudication of the claim included a review of your medical records and
           communication with medical personnel. We also obtained the opinion of gynecology
           and psychiatry specialists not affiliated with VA.

           The Federal Tort Claims Act (FTCA), 28 U.S.C. §§ 1346(b) and 2671-2680, under
           which you filed your claim, provides for monetary compensation when a Government
           employee, acting within the scope of employment, injures another by a negligent or
           wrongfal -aet~or omission . Medical negligence means-there was a i:'reach in the
           standard of care and that breach proximately caused an injury. The standard of care
           is the level at which similarly qualified medical professionals would have managed the
           care under the same or similar circumstances.

           Our review concluded that there was no negligent or wrongful act on the part of an
           employee of the VA acting within the scope of employment that caused compensable
           harm. Accordingly, we deny the claim.

           Moreover, a tort claim is barred unless it is presented within two years after the claim
           accrues, as provided in section 2401 (b), title 28, United States Code (U.S.C.).
           Accordingly, we deny any allegation of negligence that occurred prior to November 7,
           2020 on the basis that it j s time barred.


                       Veterans Crisis Line       Confidential and Available 24 Hours a Day
                 Dial 988 & Press 1 I Text to 838255 I On-Line Chat at www.veteranscrisisline.net
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          Page2
          RE: Administrative Tort Claim of Anika Seay



      Regarding the denial of your claim for benefits, it involves the administration of VA
      benefits and not a tort under State law. Your claim fails to allege a claim cognizable
      under the FTCA and therefore, there is no jurisdiction to consider your claim under the
       FTCA. Information on filing benefit claims and appeals with VA can be found at
      https://www.vets.gov/disability-benefits. VA's decisions and actions on such benefit
      claims may be reviewed only by the United States Court of Appeals for Veterans
      Claims and the United States Court of Appeals for the Federal Circuit and may not be
       reviewed by any other court (sections 511, 7252, and 7292, title 38, United States
      Code). If an error did occur in relation to handling your benefits, you may pursue an
      appeal through that exclusive review process. Accordingly, that portion of your claim
_ __ _i_n_vo
           _l_v_
               in_g benefits is denied on thi~ ~a~i~_as wel!-

           lf you are dissatisfied with the denial of your claim, you may file suit directly under the
          FTCA, 28 U.S.C. §§ 1346(b) and 2671-2680. The FTCA provides that when an
          agency denies an administrative tort claim , the claimant may seek judicial relief in a
          Federal district court. The claimant must initiate the suit within six months of the
          mailing of this notice as shown by the date of this denial (28 U.S.C. § 2401 (b )). In any
          lawsuit, the proper party defendant is the United States, not the Department of
          Veterans Affairs.

          Please note that FTCA claims are governed by a combination of Federal and state
          laws. Some state laws may limit or bar a claim or lawsuit. VA attorneys handling FTCA
          claims work for the Federal government and cannot provide advice regarding the
          impact of state laws or state filing requirements .


          Sincerely,



          Jennifer Hansen
          Deputy Chi~f Counsel




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